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Preliminary Workplan
PREPARED FOR:      Workgroup on Forensic Behavioral Health
DATE:              December 11, 2024




Phases
                                                                 Subgroups review and recommend consensus items
                       PHASE 1                                   for legislation drafting to workgroup. After each group
                                                                 has had a chance to meet and make
                       December 30, 2024–February 17, 2025       recommendations, the larger work group will meet to
                                                                 discuss.

   2025 Session PHASE 2                                          Final discussions among the larger work group. No
                                                                 small group meetings unless directed by the chair to
                       February 18, 2025–March 14, 2025          determine specific issues. Amendment request by
                                                                 March 14.

                       PHASE 3                                   Hearing and movement out of first chamber.
                       March 14, 2025–April 9, 2025              Additional meetings as needed.

                       PHASE 4                                   Continued work group efforts for items that did not
   2025 Interim+ June 2025 onward                                resolve in the 2025 session.


Goals and Principles
These goals and principles were articulated by workgroup members and should apply to the competency (aid and assist)
system, civil commitment, and other forensic populations that may interact with those two components, such as persons
under the jurisdiction of the PSRB.
   •   Clarity and consistency in practices and outcomes across the state
   •   Modification of outpatient commitment and AOT to avoid escalation and in-patient commitment
   •   Avoidance of jail as a means of curbing dangerous behavior and accessing services



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Subgroups
 •   A1: Aid & Assist 2 – OSH Pathways                                        (Custodial)
        o Admission criteria
        o Timelines
        o Recommitment
        o Capacity
        o State hospital evaluations
        o Definition on hospital level of care
 •   A2: Aid & Assist 1 – Community Restoration & Evaluation                  (Community)
        o Statewide bed tracking
        o Evaluation in community
        o Minimum standards for restorations
        o Jail-based restoration
        o Recommitment to state hospital
        o Timelines for restoration
        o Diversion/Deflection
 •   C1: Civil Commitment 1 – Definitions, Standards, Initiation & Hearing    (Custodial)
        o Definition of mental disorder
        o Threshold for commitment
        o Other definitions
        o Appointment of counsel
        o 14-Day Diversion
        o Hospital Discharge
        o Hold process/NMI/Types
        o Hold criteria
        o Mag holds
 •   C2: Civil Commitment 2 – Placement, Services, Alternatives               (Community)
        o Diversion/Deflection
        o Early Intervention Services
        o Post-commitment
        o Re-commitment



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         o      AOT
         o      Trial Visits
         o      Transportation (sheriffs will need to take it up)
         o      Alternatives (declaration for mental health treatment, emergency guardianship, office of public guardian)


Timeline
WG: Full Workgroup
C1: Subgroup Civil Commitment – Custodial
A1: Subgroup Aid & Assist – Custodial
C2: Subgroup Civil Commitment – Community
A2: Subgroup Aid & Assist – Community

Week            Meeting         Topic(s) & Tasks                               Objectives & Desired Outcomes
                                   •       14-day diversion                         •     Agree on whether to extend time period for 14
                                   •       Precommitment hold                             day intensive treatment (diversion), whether to
                                           timelines/hearing timelines                    offer it earlier in process or extend timeline for
12/30           C1                                                                        acceptance
                                                                                    •     Determine if consensus on extending
                                                                                          precommitment hearing timelines, if so, what
                                                                                          should it look like

                                       •        Timelines and admission          •       Determine whether workgroup can adopt
     12/30           A1                         criteria for restoration at              consensus of OHA WG on timelines,
                                                OSH                                      extensions, and admission to OSH.
                                            •     Avenues for community-        •       Is there an agreed upon recommendation for
                                                  services and pre-                     providing care and services before
          1/6             C2
                                                  commitment engagement                 commitment is considered?
                                            •     Options for jail diversion    •       Look at options for jail diversion/deflection




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                                                        •    What does it mean to be in CR? What
                                                             improvements can be made to make it
                       •   Standards for CR                  meaningful?
1/6    A2
                       •   Diversion/deflection         •    Is there a process to move a person into a
                                                             program when competency is questioned to
                                                             prevent engagement with A&A system?

1/13   WG              •   Discuss recommendations      •    Finalize workplan through March 14
                           from subgroups




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